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                                     UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF TEXAS
                                          MARSHALL DIVISION

DISPLAY TECHNOLOGIES, LLC                                            Lead Consolidated Case No.
                                                                     2:17-cv-00070-JRG-RSP
           Plaintiff,
v.

HTC AMERICA, INC.,

      Defendant.
___________________________________/

DISPLAY TECHNOLOGIES, LLC,                                           Case No. 2:17-cv-00067-JRG-RSP

           Plaintiff,
v.

BLU PRODUCTS, INC.,

           Defendant.
                                                           /

                     NOTICE OF COMPLIANCE WITH PARAGRAPHS 1 AND 3
                                OF THE DISCOVERY ORDER
           Defendant, BLU PRODUCTS, INC. (“BLU”) by and through its undersigned counsel,

hereby gives notice that it served upon Plaintiff’s counsel its Initial and Additional Disclosures

pursuant to Paragraphs 1 and 3 of the Discovery Order.

                                                           Respectfully submitted,
                                                           s/ Isaac S. Lew
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                                                           Counsel for Defendant, BLU Products, Inc.



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                                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served by e-mail

through the CM/ECF system on this 27th day of June, 2017, on all counsel of record on the

service list below.

                                                        s/ Isaac S. Lew
                                                        Isaac S. Lew


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